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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JOEL E. UNRUH AND                               §
LUZ M. UNRUH                                    §
                                                §
       Plaintiffs,                              §
                                                §
v.                                              §               Civil Action No. 4:22-cv-00030
                                                §
CENLAR FSB AND SECURITY,                        §
NATIONAL MORTGAGE COMPANY                       §
                                                §
       Defendants                               §


                UNOPPOSED MOTION TO DISMISS WITH PREJUDICE
TO THE HONORABLE UNITED STATES DISTRICT COURT:
       Plaintiffs Joel E. Unruh and Luz M. Unruh (“Plaintiffs”), file this Unopposed Motion to

Dismiss pursuant to FED. R. CIV. P. 41(a)(2) and would respectfully show the Court the

following:

       The Original Petition was filed on December 5, 2021. Defendants Cenlar FSB and Security

National Mortgage Company removed this case to Federal Court on January 5, 2021.

       Defendant filed its answer on January 4, 2021. There are no pending counterclaims. All

claims are disposed of. Each party will bear their own costs.

       Accordingly, Plaintiffs file this Unopposed Motion to Dismiss with Prejudice.

Respectfully submitted this 7 day of April 2022,

                                             THE LANE LAW FIRM, P.L.L.C

                                             B y : /s/ Robert C. Lane
                                                     Robert C. Lane
                                                     State Bar No. 24046263
                                                     S.D. Bar No. 570982
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                                                     Attorneys for Plaintiffs


                                   Certificate of Conference

       On April 4, 2022 I conferred with counsel for Defendants regarding this motion. The
motion is unopposed.

                                                     /s/ Joshua D. Gordon
                                                     Joshua D. Gordon




                                      Certificate of Service

        The undersigned attorney certifies that a true and correct copy of the foregoing instrument
was electronically filed with the Clerk of Court by using the CM/ECF system and a copy of same
is being served on counsel of record on this 7 day of April 2022.


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ATTORNEYS FOR DEFENDANTS

                                                     /s/ Joshua D. Gordon
                                                     Joshua D. Gordon
